              Case 8:24-bk-07106-RCT        Doc 144       Filed 02/05/25    Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

In re:                                                        Chapter 11, Subchapter V

SMART COMMUNICATIONS HOLDING, INC.,                           Case No. 8:24-bk-7106-RCT
SMART COMMUNICATIONS HOLDING, LLC,                            Case No. 8:24-bk-7108-RCT

         Debtors.                                             Jointly Administered under
                                                      /       Case No. 8:24-bk-7106-RCT

                    DEBTORS’ WITNESS LIST FOR MARCH 10, 2025 TRIAL

         Smart Communications Holding, Inc. and Smart Communications Holding, LLC, as

debtors and debtors in possession (collectively, the “Debtors”), by and through their undersigned

counsel, file their Witness List for persons who may be called as a witness at Trial, pursuant to the

Court’s Order (I) Scheduling Trial and Establishing Deadlines and (II) Rescheduling Hearing on

Confirmation of Plan (Doc. No. 104) (the “Order”), as follows:

         1.     Jonathan Logan
                c/o Daniel R. Fogarty, Esquire
                Stichter, Riedel, Blain & Postler, P.A.
                110 E. Madison St., Suite 200
                Tampa, FL 33602

         2.     Lisa Eddy
                c/o Daniel R. Fogarty, Esquire
                Stichter, Riedel, Blain & Postler, P.A.
                110 E. Madison St., Suite 200
                Tampa, FL 33602

         3.     Noreen Gunning
                c/o Daniel R. Fogarty, Esquire
                Stichter, Riedel, Blain & Postler, P.A.
                110 E. Madison St., Suite 200
                Tampa, FL 33602

         4.     Expert Witness(es) identified by the Debtors based on identified confirmation
                issues. Because the deadline to object to confirmation of the Debtors’ plan has not
                run, and discovery is ongoing, the Debtors have not identified what issues will be
              Case 8:24-bk-07106-RCT          Doc 144     Filed 02/05/25     Page 2 of 2




                  contested and what facts the parties will stipulate to. The Debtors will supplement
                  this witness list as dictated by ongoing discovery.

         5.       Janice Logan
                  c/o Edward Peterson
                  Johnson Pope Bokor Ruppel & Burns, LLP
                  400 N. Ashley Drive, Suite 3100
                  Tamp, Florida 33602
                  edwardp@jpfirm.com

         6.       Alexis Logan
                  c/o Edward Peterson
                  Johnson Pope Bokor Ruppel & Burns, LLP
                  400 N. Ashley Drive, Suite 3100
                  Tamp, Florida 33602
                  edwardp@jpfirm.com

         7.       Any and all witnesses listed by other parties.

         8.       Any and all witnesses offered for purposes of impeachment or rebuttal.

         9.       Discovery is ongoing. In accordance with and as contemplated by the Order, the

Debtors reserve the right to supplement this list at any time prior to trial as dictated by ongoing

discovery.

                                                /s/ Daniel R. Fogarty
                                                Daniel R. Fogarty (FBN 0017532)
                                                Stichter Riedel Blain & Postler, P.A.
                                                110 East Madison Street, Suite 200
                                                Tampa, Florida 33602
                                                Telephone: (813) 229-0144
                                                Email: dfogarty@srbp.com
                                                Attorneys for Debtors

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that true and correct copies of the foregoing have been furnished on

February 5, 2025, by the Court’s CM/ECF System to all parties receiving electronic notice.



                                                /s/ Daniel R. Fogarty
                                                Daniel R. Fogarty



                                                    2
4916-6812-1367, v. 2
